




Affirmed and Memorandum Opinion filed March 8, 2007








Affirmed
and Memorandum Opinion filed March 8, 2007.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00803-CR

____________

&nbsp;

ERIC STEPHEN WATERS,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 209th District
Court

Harris County, Texas

Trial Court Cause No.
1045785

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

After a
jury trial, appellant was convicted of the offense of aggravated robbery and
was sentenced on August 31, 2006, to confinement for fifteen years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant
filed a notice of appeal.








On
November 30, 2006, appellant=s appointed counsel filed a brief in which he concludes the
appeal is wholly frivolous and without merit. The brief meets the requirements
of Anders v. California, 386 U.S. 738, 87 S.Ct. 1396 (1967), presenting
a professional evaluation of the record demonstrating why there are no arguable
grounds to be advanced.&nbsp; See High v. State, 573 S.W.2d 807 (Tex. Crim.
App. 1978).

A copy
of counsel=s brief was delivered to appellant.&nbsp; Appellant was advised of the right
to examine the appellate record and file a pro se response.&nbsp; See Stafford v.
State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991).&nbsp; As of this date, more
than sixty days has elapsed and no pro se response has been filed.

We have
carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit.&nbsp; Further, we find no reversible error in
the record.&nbsp; A discussion of the brief would add nothing to the jurisprudence
of the state.

Accordingly,
the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed March
8, 2007.

Panel consists of Justices Yates, Anderson, and
Hudson.

Do Not Publish C Tex. R. App. P.
47.2(b).





